      Case: 1:19-cv-05091 Document #: 49 Filed: 11/05/19 Page 1 of 3 PageID #:1372




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 MISTER TWISTER, LLC,
                                                              Case No.: 1:19-cv-05091
          Plaintiff,
                                                              Judge Harry D. Leinenweber
 v.
                                                              Magistrate Judge Sunil R. Harjani
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                  DEFENDANT
                  9                                   SKFZ Co.,Ltd.
                  33                qualyqualycoltde30a481a985211e6bb08064c7986db28
                 131                                       chaoyijin
                 154                                     good_item7
                 175                                     jianjian2015
                 182                               lalang_accessory_supply
                 221                                        shan901
                 232                                    sun-jewellry
                 188                                     lots_beauty
                  22                          francewispun2internationallimited
                 119                                   auwoodfashion
                 160                                    happymall2013
                 273                                   yichengmall2014
                  93                                        redyan
   Case: 1:19-cv-05091 Document #: 49 Filed: 11/05/19 Page 2 of 3 PageID #:1372




DATED: November 5, 2019              Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-05091 Document #: 49 Filed: 11/05/19 Page 3 of 3 PageID #:1372




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 5, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
